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 4   Attorney for Defendant
     FRANK ALIOTO
 5

 6                         IN THE UNITED STATES MAGISTRATE COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES OF AMERICA,                        )       No. CR-S-11-190 MCE
 9                                                    )
                                                      )
10          Plaintiff,                                )       STIPULATION AND ORDER EXTENDING
                                                      )       TIME TO POST
11   v.                                               )       POST PROPERTY BOND
                                                      )
12                                                    )
     FRANK ALIOTO,
                                                      )
13                                                    )
            Defendant.                                )
14                                                    )
                                                      )
15                                                    )
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17
            On May 2, 2012, the Honorable Kendall J. Newman ordered defendant Frank Alioto
18
     released on a $250,000.00 unsecured bond, co-signed by the defendant’s mother, Joan Alioto, to
19
     be replaced by a secured bond, secured by the real property owned by Mrs. Alioto, within two
20
     weeks. On May 23, 2012 a stipulation and proposed order was filed and approved to extend the
21
     due date of the filing to May 30, 2012. On June 1, 2012 another stipulation and proposed order
22
     was filed and approved to extend the due date of the filing to June 13, 2012. Subsequently, via
23
     stipulation, the "due date" was extended to June 27, 2012, August 1, 2012, and August 31, 2012.
24
     (The Defense apologizes for the tardy filing of this stipulation.)
25
            The Surety has provided the bond documents, and counsel has provided the documents to
26
     the Government. The Government needs additional time to review the documents received from
27

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 1   the defense. Additionally, once the documents are approved the defense will need time to have
 2   the deed recorded and file the bond.
 3          Accordingly the parties agree the deadline for posting the property bond may be extended
 4   to October 5, 2012. This office has contacted Jason Hitt of the U.S. Attorney’s Office, and he
 5   has no objection to this request.
 6

 7   Dated: September 6, 2012                            /s/ John R. Manning
                                                         JOHN R. MANNING
 8                                                       Attorney for Defendant
                                                         Frank Alioto
 9

10

11   Dated: September 6, 2012                            Benjamin B. Wagner
12
                                                         United States Attorney

13
                                                         by: /s/ Jason Hitt
14                                                       JASON HITT
15
                                                         Assistant United States Attorney

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              Case 2:11-cr-00190-KJM Document 92 Filed 09/07/12 Page 3 of 3



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 7
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                       ) No. CR-S-11-190 MCE
10
                                                     )
                                                     )
11          Plaintiff,                               ) ORDER EXTENDING
                                                     ) TIME TO POST PROPERTY BOND
12
     v.                                              )
                                                     )
13
     FRANK ALIOTO,                                   )
                                                     )
14
                                                     )
            Defendant.                               )
15
                                                     )
                                                     )
16
                                                     )
17

18
            For good cause appearing, the due date for posting of a secured property bond in this
19

20
     matter shall be continued to October 5, 2012.
     No further extensions.
21

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24
     IT IS SO ORDERED.
     Dated: September 7, 2012
25                                                   /s/ Gregory G. Hollows
                                                          Gregory G. Hollows
26
                                                          United States Magistrate Judge
27

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